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                  EXHIBIT 1
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        Exhibit 1 to Ross Ulbricht’s Rule 33, Fed.R.Crim.P., Motion for a New Trial

       !        3505-14-221 – JDY2 Affidavit 5/29/2013 for NDIll search of MK e-mail accounts;

       !        3505-24-25 – JDY e-mail 05/05/13 re: suspicious Dwolla accounts;

       !        3505-34 – JDY email 11/08/12 re: “username that DPR uses on several other
                sites[,]”3 referring to AA.4

       !        3505-205 – email 08/15/13 from AUSA ST5 to JDY re: warrant application
                affidavit

       !        3505-206-33 – JDY draft Affidavit 8/15/2013 for SDNY search of MK6 e-mail
                accounts

       !        3505-334-35 – AUSA ST Sealing Order application DATE re: “target of this
                investigation” (referring to MK)

       !        3505-236-39 – JDY 10/12/2012 email re: subpoenas re: MK (German companies)

       !        3505-250-51 – JDY 8/3/2012 email re: MK and Ashley Barr “running the Silk
                Road”

       !        3505-265 – JDY 9/10/2012 email re: MLAT7 to Germany

       !        3505-267 – JDY 7/11/2012 email re: “We think we found out who’s behind the
                SR.”



       1
         3505 is the prefix designation for 3500 material for Homeland Security Investigations
Special Agent Jared Der-Yeghiayan. 3501 is the prefix designation for 3500 material for Internal
Revenue Service Special Agent Gary Alford.
       2
           “JDY” refers to Homeland Security Investigations Special Agent Jare Der-Yeghiayan.
       3
           “DPR” refers to “Dread Pirate Roberts.”
       4
           “AA” refers to Anand Athavale.
       5
           “AUSA ST” refers to Assistant United States Attorney Serrin Turner.
       6
           “MK” refers to Mark Karpeles.
       7
           “MLAT” refers to Mutual Legal Assistance Treaty.

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 !     3505-273-75 – JDY 5/15/2013 email re: MK investigation and internecine law
       enforcement agency conflict, seizure of MK account, and criminal 1960 violations

 !     3505-285-87 – JDY memo re: Operation Dime Store and MK “administering the
       Silk Road website with the assistance of multiple other associates.”

 !     3505-295-301 – JDY memo re: internecine law enforcement agency conflict and
       MK attorney meeting, etc.

 !     3505-302-06 – JDY memo re: accounts controlled by JDY and others, including
       four pages of redactions

 !     3505-315-16 – JDY email 11/13/2012 re: AA internet presence

 !     3505-316-18 – JDY emails 11/13/2012 re: AA

 !     3505-334 – JDY email 8/18/2013 re: MK and MediaWiki version 1.17.0

 !     3505-355 – JDY email 9/16/2013 re: weird bitcoin movement in August 2013

 !     3505-537 – JDY email 4/20/2012 re: “going right for the admin and his money.
       We have a few of the silk road’s account numbers identified.”

 !     3505-539 – JDY email 4/18/2012 re: “We’ve identified a few of Silk Road’s
       bitcoin account numbers and are working to further identify the people behind
       them.”

 !     3505-588-90 – JDY emails 11/13/2012 re: AA (“Vancouver target”)

 !     3505-591-600 – JDY November 2012 report re: AA

 !     3505-626-28 – JDY emails 5/22/2013 re: AA investigation

 !     3505-630 – JDY email 11/2/2012 re: AA & MK investigation re: DPR writings

 !     3505-632 – JDY email 5/8/2013 re: MK and Mt. Gox/Dwolla accounts

 !     3505-671 – JDY email 11/26/2013 re: MK the purchaser for silkroadmarket.org

 !     3505-673 – JDY email 9/9/2013 re: German registry company records

 !     3505-707 – JDY email 10/7/2013 re: MK “purging everything after his arrest . . .”



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                 and GA8 email re: hacking of bitcoin forum shortly after RU’s arrest.

 !        3505-709-10 – JDY email 7/12/2012 re: grand jury subpoena to PayPal re: MK
          activity

 !        3505-712 – JDY email 7/16/2012 re: “I think we figured out who’s behind the
          SR.”

 !        3505-735 – JDY email 2/27/2013 re: MK and German companies and servers.

 !        3505-738-39 – JDY emails November 19, 2012 re: AA investigation

 !        3505-775 – JDY emails 9/29/2013 re: “peaceloveharmony” “sitting on DPR’s
          profile for a few hours.”

 !        3505-787 – JDY emails 8/2/2013 re: “inlightof” and “it’s my opinion he was the
          previous DPR. Current DPR is new as of appx April we think.”

 !        3505-835-36 – JDY emails 1/15/2013 re: “should have an indictment and arrest
          warrant by the end of March.” “I do have actual plans on doing something very
          large in the next month or so, . . .” “we’re likely to see this site fall soon.”

 !        3505-846 – JDY email 11/13/2012 re: AA investigation

 !        3505-895 – JDY email 10/15/2013 to AUSA ST re: Excel spreadsheet of
          “Karpeles Dwolla Transactions”

 !        3505-00902-02916 – spreadsheet of MK’s Dwolla transaction history

 !        3505-2925 – JDY email with respect to Ross Ulbricht’s Mt. Gox account(s), “just
          heard that information was passed from MK’s atty’s to Baltimore[,]” and that MK
          remained under investigation by HSI Chicago.

 !        3505-2933 – JDY email 7/14/2013 re: “Cirrus is scout, insight of might be dread
          according to scout.”

 !         3505-2935-36 – GA email 9/17/2013 to AUSA ST re: Richard Bates and
          “[c]ould be worth looking into this guy . . .”

 !        3505-2954 – JDY email 8/15/2013 to AUSA ST commenting, upon reading the
          interview of DPR in Forbes, “Yeah, it sounds very much like MK.”


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     “GA” refers to Internal Revenue Service Special Agent Gary Alford.

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 !        3505-2961 – JDY email 2/11/2014 re: bitcointalk.org administrators, including
          MK.

 !        3505-2991-92 – JDY email 8/28/2012 re: interference from other agencies and
          jurisdictions

 !        3505-3002 – JDY email 4/3/2013 re: “there has been a little movement from
          Vancouver on the suspect there.”

 !        3505-3006 – JDY email 4/10/2013 re: AA investigation

 !        3505-3020 – JDY email 10/2/2013 re: “after reviewing some notes from [Mr.
          Ulbricht’s] computer last night/this morning there appears to be some inferences
          to MK’s involvement and associations to SR.”9

 !        3505-3045 – JDY email 7/17/2012 re: “[t]he main target (Mark Karpeles) has
          been in Japan I believe since 2009 . . .” and Ashley Barr and the investigation.

 !        3505-3057-58 – JDY emails 4/3/2013 & 4/4/2013 re: investigation of AA

 !        3505-3063-65 – JDY emails 5/23/2013 & 5/24/2013 re: AA investigation

 !        3505-3068-85 – JDY report re: AA personal profile and language analysis

 !        3505-3122-24 – JDY report re: “Agents have discovered strong ties between those
          controlling the bitcoin markets and those operating the Silk Road.” “Over the last
          few months, HIS O’Hare has made several breakthroughs in identifying high
          priority targets believed to be the backbone of the website.” “HSI O’Hare has also
          identified multiple financial accounts belonging to the Silk Road operators which
          contain bitcoins equal in value to millions of U.S. dollars.”

 !        3505-3086 – JDY email 4/16/2013 re: draft affidavit for search warrant for MK
          emails

 !        3505-3087-92 – JDY draft search warrant affidavit for MK email accounts

 !        3505-3447-50 – JDY email 10/12/2012 re: subpoena to API GmbH re: MK

 !        3505-3472-74 – JDY email 7/11/2012 re: MLAT request to Germany re: MK

 !        3505-3475-80 – JDY report re: investigation and MK


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     “SR” refers to Silk Road.

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 !     3505-3512 – JDY email 9/30/2013 re: looking for connections to MK in DPR
       private messages

 !     3505-3703-10 – JDY Report 36 08/06/12 re: MK investigation

 !     3505-3722 – JDY Report 39 11/14/12 re: AA investigation with redactions,
       including AA’s name and identifying information

 !     3505-3762-67 – JDY Report 45 03/07/13 re: MK investigation (and redactions)

 !     3505-3809-23 – JDY Report 54 05/01/13 re: AA investigation with redactions on
       information gathered by JDY regarding AA (3505-3817-23)

 !     3505-3825 – JDY Report 55 05/06/13 re: missing paragraphs from Report 54 (but
       redacted)

 !     3505-3869 – JDY Report 63 10/17/2013 re: search warrant served on Google for
       MK’s email addresses

 !     3505-3900-03 – JDY Report 75 11/27/2013 re: Customs Mutual Assistance
       Treaty request and return from Frankfurt, Germany re: MK (with redactions)

 !     3501-43 – GA email 9/25/2013 to PayPal re: “the subject identified in the request
       we have reason to believe may work for eBay/Paypal or have a significant
       connection to your company.”

 !     3501-83 – GA report 10/12/2013 re: SR investigation noting “FBI tech specialist
       who said that the server did not reveal any identifying information as to the
       identity of DPR and was not the ‘home run’ that FBI was seeking.”

 !     3501-153 – GA emails 10/18/2013 to AUSA ST re: a bitcoin account related to
       “Justin’s” account that was “emptied shortly at the end of July”

 !      3501-157 – GA emails 10/16/2013 re: evidence that Mr. Ulbricht was a bitcoin
       trader for years

 !     3501-206 – GA report 9/27/2013 re: “Interviews were obtained after the takedown
       of SR in various parts of the country by IRS and DEA counterparts upon the
       direction of SA Alford.”




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